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                             EXHIBIT I
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      1           IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERNDISTRICT OF OKLAHOMA
      2

      3    UNITED STATES OF AMERICA,

      4          Plaintiff,

      5    and

      6    OSAGE MINERALS COUNCIL,

      7          Intervenor-Plaintiff,

      8    vs.                           Case No. 14-CV-704-GFK-JFJ

      9    OSAGE WIND, LLC;
           ENEL KANSAS, LLC; and
     10    ENEL GREEN POWER NORTH
           AMERICA, INC.,
     11
                 Defendants.
     12

     13             VIDEO ZOOM DEPOSITION OF JOHN H. PFAHL
                       TAKEN ON BEHALF OF THE PLAINTIFF
     14           ON MARCH 10, 2021, BEGINNING AT 10:01 A.M.
                              IN TULSA, OKLAHOMA
     15

     16

     17                               APPEARANCES

     18    On behalf of the PLAINTIFF:

     19    Cathryn D. McClanahan
           Assistant United States Attorneys
     20    UNITED STATES ATTORNEY'S OFFICE
           Northern District of Oklahoma
     21    110 W. 7th St., Suite 300
           Tulsa, OK   74119
     22    (918) 382-2700
           cathy.mcclanahan@usdoj.gov
     23
           Christina Watson, Paralegal
     24    Michelle Hammock, Paralegal

     25    REPORTED BY:     SUSAN K. McGUIRE, CSR, RPR
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     1   Of counsel for the Plaintiff:                                         1        VIDEOGRAPHER: This is a videotaped
     2   Charles R. Babst, Jr.                                                 2 deposition of John Pfahl, in the matter of the United
     3
         Senior Attorney                                                       3 States and Osage Minerals Council versus Osage Wind,
         Tulsa Field Solicitor's Office
     4
         U.S. Department of the Interior                                       4 on March 10th, 2021. We are on the record at 10:01
         7096 East 33rd Street
     5
         Tulsa, OK 74145                                                       5 a.m.
         (918) 669-7902
     6   On behalf of the DEFENDANTS:                                          6        Will Counsel please state your appearances
     7   Ryan A. Ray                                                           7 for the record.
     8
         NORMAN, WOHLGEMUTH, CHANDLER                                          8        MS. McCLANAHAN: I'll start. I'm Cathy
         JETER, BARNETT & RAY, P.C.
     9
         401 S. Boston Ave.                                                    9 McClanahan for the United States. I have Charles
         2900 Mid-Continent Tower
    10
         Tulsa, OK 74103                                                      10 Babst here, as well, of counsel. He's with the
         (918) 583-7571
    11
         rar@nwcjlaw.com                                                      11 Department of Interior.
    12
         Sarah M. Stevenson                                                   12        MS. NAGLE: Mary Kathryn Nagle for the Osage
         Dominic A. Martinez
    13
         MODRALL, SPERLING, ROEHL,                                            13 Minerals Council, Intervenor-Plaintiff. With me I
         HARRIS & SISK, P.A.
    14
         500 Fourth St. NW, Suite 1000                                        14 also have my partner, Wilson Pipestem, from Pipestem
         Albuquerque, New Mexico 87103
    15
         (505) 848-1800                                                       15 Law, as well as Jennifer Baker from Pipestem Law.
         sarah.stevenson@modrall.com
    16
         dam@modrall.com                                                      16        MR. RAY: Good morning. Ryan Ray for all
    17
         On behalf of the INTERVENOR-PLAINTIFF:                               17 defendants, Osage Wind, LLC; Enel Green Power, North
    18
         Mary Kathryn Nagle                                                   18 America, Incorporated; and Enel Kansas, LLC.
         Wilson K. Pipestem
    19
         Jennifer Baker                                                       19        THE COURT REPORTER: Mr. Pfahl --
         PIPESTEM & NAGLE, P.C.
    20
         401 S. Boston Ave., Suite 2200                                       20        MS. STEVENSON: This is Sarah Stevenson, I'm
         Tulsa, OK 74103
    21
         (918) 936-4705                                                       21 also here for defendants, along with my colleague,
         mknagle@pipestemlaw.com
    22
         wkpipestem@pipestemlaw.com                                           22 Dominic Martinez.
         jbaker@pipestemlaw.com
    23   Megan Beauregard                                                     23        VIDEOGRAPHER: The court reporter will now
    24
         Associate General Counsel                                            24 swear in the witness.
         Enel Green Power North America
    25   ALSO PRESENT: Gabe Pack, Videographer                                25               ******
                                                                     Page 3                                                              Page 5
     1                  CONTENTS                                               1 WHEREUPON,
     2                                     Page                                2               JOHN H. PFAHL
     3 DIRECT EXAMINATION BY MS. McCLANAHAN                          5         3 after having been first duly sworn, deposes and says
     4 CROSS EXAMINATION BY MS. NAGLE                          129             4 in reply to the questions propounded as follows,
     5                                                                         5 to-wit:
     6                  EXHIBITS                                               6             DIRECT EXAMINATION
     7 Exhibit                                Page                             7 BY MS. McCLANAHAN:
     8     1    SRK Consulting Report           12                             8     Q. All right. I'll ask the witness to state
           2    2011 RMT Report                25
     9     3    Tribal Resolution           28                                 9 his name and spell it for the court reporter.
           4    Westlaw 25 CFR 214.10             32
    10     5    Osage Wind 12246 Purchase Order      39                       10     A. Sure. My name is John Holland Pfahl.
           6    Change Order                59
    11     7    Tenth Circuit Opinion          60                             11 That's J-O-H-N, H-O-L-L-A-N-D, P-F-A-H-L.
           8    Email 5-15-14               156
    12     9    Article                 202                                   12        THE COURT REPORTER: I need him to speak up.
           10    Geological Survey            211
    13                                                                        13     Q. (BY MS. McCLANAHAN) And if you could
    14                 STIPULATIONS                                           14 possibly either turn your microphone up, or you speak
    15          It is stipulated that the deposition of                       15 up. It's just a little difficult for us to hear when
    16 JOHN H. PFAHL may be taken on MARCH 10, 2021, pursuant                 16 you are talking.
    17 to agreement and in accordance with the Federal Rules                  17     A. Yeah. Give me one second. I -- we're using
    18 of Civil Procedure before Susan K. McGuire, CSR, RPR.                  18 the conference room audio system, so I've got to go
    19                                                                        19 over there to turn the settings on the microphone.
    20                                                                        20     Q. Okay. Okay. Sure.
    21                                                                        21        VIDEOGRAPHER: Do you want to take a break?
    22                                                                        22        MS. McCLANAHAN: No.
    23                                                                        23        VIDEOGRAPHER: Okay.
    24                                                                        24        THE WITNESS: Okay. It looks like the
    25                                                                        25 microphone in the room is maxed out, so I'll just try
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     1       A. Yes, that is correct.                                       1   Exhibit 21 is a tribal resolution regarding the APAC
     2       Q. And you think that's a fair estimate of the                 2   lease. I'm going to ask that that be marked and
     3   density of limestone in this area, generally; is that              3   entered as Exhibit -- Plaintiff's Exhibit 3 here.
     4   correct?                                                           4         Do you have that document in front of you?
     5       A. Yes, I do.                                                  5      A. Exhibit 21?
     6       Q. Does density have anything to do with the                   6      Q. It's attached to your report as Exhibit 21,
     7   decision to blast or not blast in order to excavate?               7 yes.
     8       A. No, it does not.                                            8    A. Yes, I do have it.
     9       Q. To convert 63,180 cubic yards to tons, you                  9      Q. And is this one of the documents you relied
    10   first multiplied 155 pounds per cubic foot by 27; is              10   upon to establish that .50 cents per ton of limestone
    11   that right?                                                       11   in 2012?
    12       A. No. You would have divided it by 27. Or,                   12      A. Yes, that is correct.
    13   sorry, pounds per -- sorry. So, you first divide                  13      Q. Okay. So given that the limestone in
    14   it -- I would have to actually write this out, this               14   question that we're talking about in this case was
    15   equation, to go from a pounds per cubic foot to tons              15   excavated in 2014, it's your opinion that the value of
    16   per cubic yard. My apologies there. If you'd like, I              16   the limestone that was taken by Osage Wind from the
    17   can think about it for a second and give you the full             17   estate during construction was .52 cents a ton; is
    18   way of approaching it.                                            18   that correct?
    19       Q. Okay. So, did you conclude that there were                 19         MR. RAY: Object to the form. You can
    20   264,000 -- or, I'm sorry, 264 million pounds of                   20   answer.
    21   limestone?                                                        21         THE WITNESS: Yeah, that is correct. So the
    22       A. I don't have the value or the volume --                    22   royalties were escalated at that time. Again, I
    23   sorry, the mass in pounds. I have it in tons. So I                23   looked at other leases as well, and they had a .1 cent
    24   converted the 155 pounds per cubic feet to 2.1 tons               24   per year escalation. So the .50 cents in 2012
    25   per cubic yard, and applying that against the 63,180              25   escalated to .52 cents in 2014.
                                                                 Page 27                                                             Page 29
     1   cubic yards, came up with a paid value of 132,678 tons             1      Q. (BY MS. McCLANAHAN) So, in this regard, you
     2   of limestone.                                                      2 believe that the value of a lease from the OMC, as
     3      Q. Okay. Okay. I think -- we both got there.                    3 contemplated by the Tenth Circuit, would have been
     4   My 264 million were divided then by 2,000 to get to                4 $68,993, and, again, we're not talking about interest
     5   tons, and that's the same answer that you have,                    5 right now; is that correct?
     6   132,678 tons; correct?                                             6         MR. RAY: Object to the form.
     7     A. Yeah, I'll have to take your word on that.                    7         THE WITNESS: So, yeah. My opinion, the
     8   Again, I don't have the calculation and all the                    8 value of the mineral mined to the OMC would have been
     9   interim steps in front of me, but if we're getting to              9 $68,993 at the time.
    10   the same point, that sounds like the right answer.                10      Q. (BY MS. McCLANAHAN) Okay. So limestone was
    11      Q. Okay. And it's your opinion that the total                  11 not the only mineral that was excavated during the
    12   value of the 132,678 tons of limestone that was                   12 construction; is that right?
    13   excavated would be $68,993. And I'm excluding                     13      A. That is correct.
    14   interest right now.                                               14      Q. Do you agree that other minerals were
    15      A. So, yes, $68,993, valued at the time that it                15 excavated?
    16   was mined.                                                        16      A. I agree that other minerals were excavated.
    17      Q. And you base this value off the royalty rate                17      Q. Clay and shale were also excavated during
    18   that's contained in a limestone lease to APAC Central             18 the construction; is that correct?
    19   Quarry; is that right?                                            19      A. Yes, that is correct.
    20      A. That's right. I checked the leases on a                     20      Q. And do you agree that clay and shale are
    21   couple of the quarries on the OMC's mineral estate,               21 considered mineral resources?
    22   and they were consistent with that value. So that was             22      A. I do not believe that clay and shale meet
    23   the value at the time for limestone being mined within            23 the definition of being mined. It was outlaid by the
    24   the county based on those leases.                                 24 Tenth Circuit court.
    25      Q. Okay. I think attached to your report as                    25      Q. Okay. But that wasn't my question. Do you
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     1 copper, lead, zinc, coal, and asphaltum, the lessee                 1 have been important for your opinion, in forming an
     2 shall pay quarterly a royalty of 10 percent of the                  2 opinion in this case, to know whether or not this
     3 value at the nearest shipping point of all ores,                    3 regulation applies?
     4 metals, or minerals marketed.                                       4          MR. RAY: Object to the form.
     5          Did I read that correctly?                                 5          THE WITNESS: I think what is most important
     6     A. Yes, I believe so.                                           6 is what the actual market rates were at the time, and
     7     Q. So could clay and shale be considered                        7 what was established. Those seem to divert from this.
     8 minerals, other than gold, silver, copper, lead, zinc,              8 So, I defer to what was actually being done instead of
     9 coal and asphaltum?                                                 9 this regulation. I'm sorry, just to --
    10     A. Yes.                                                        10     Q. (BY MS. McCLANAHAN) And if I understand --
    11          MR. RAY: Object to the form.                              11 I'm sorry, go ahead.
    12     Q. (BY MS. McCLANAHAN) Do you know if -- when                  12     A. Is the SOUND any better now?
    13 someone enters a lease with the Osage Minerals Council             13     Q. It's a little better. Our --
    14 to mine clay or shale from the mineral estate, do you              14          MS. McCLANAHAN: Let me just ask, are we
    15 know whether or not this regulation applies?                       15 completely turned up so far as volume?
    16          MR. RAY: Object to the form.                              16          MS. HAMMOCK: Yes.
    17          THE WITNESS: I do not know how the OMC                    17     Q. (BY MS. McCLANAHAN) Okay. We're as far up
    18 takes into account this regulation when they set their             18 as we can get, so I appreciate you speaking loudly, I
    19 leases. It's clear that they didn't follow it 100                  19 guess.
    20 percent, because the limestone leases that they set at             20          So it's your opinion that clay and shale
    21 the time do not use the 10 percent royalty. So I                   21 that was excavated from the Osage mineral estate by
    22 don't know where else they diverge from this.                      22 Osage Wind had no value because there was no
    23     Q. (BY MS. McCLANAHAN) So we're -- again,                      23 processing facility to make them valuable; is that
    24 we're having a little bit of trouble understanding                 24 right?
    25 you, if you could, maybe, put your hands down and just             25          MR. RAY: Object to the form.
                                                                Page 35                                                               Page 37
     1 speak as loud as you can.                                           1          THE WITNESS: So the value of a mineral is
     2          I believe the upshot of what you just said                 2 only when you can sell it. And if they were able to
     3 was that you don't believe that they followed this                  3 sell the clay or shale for other purposes, then it
     4 regulation?                                                         4 could have had value. But from the standpoint of a
     5     A. What I said is that it's -- the limestone                    5 material amount of volume, in my opinion there is not
     6 leases -- I'm sorry, I'm going to scoot over one                    6 a market for clay and shale that is extensive enough
     7 chair.                                                              7 to drive those as an important point of value.
     8     Q. Okay.                                                        8     Q. (BY MS. McCLANAHAN) But you understand, as
     9     A. Just so that I'm closer to the microphone.                   9 you read 214.10(d), that that regulation does not
    10 Maybe that will make a difference.                                 10 value minerals according to whether there is nearby
    11     Q. Okay.                                                       11 demand or nearby processing; correct?
    12     A. So what I just said is that the limestone                   12          MR. RAY: Object to the form.
    13 leases that I reviewed that I have formed the basis of             13          THE WITNESS: No, you're actually incorrect.
    14 my .52 cents per ton to set the value of the limestone             14 That regulation values minerals when they're sold. If
    15 were not a 10 percent of value type lease. So I do                 15 there is no nearby processing, or there is no nearby
    16 not know what else the OMC does that diverges or is                16 marketing and they are not sold, then they carry zero
    17 not consistent with this regulation.                               17 value.
    18     Q. Do you have any reason to disagree that                     18     Q. (BY MS. McCLANAHAN) Well, you would agree
    19 214.10(d) would apply if someone sought to mine clay               19 that the operative word, I guess, that we're both
    20 and shale from the mineral estate here?                            20 looking at is the word "nearest"?
    21          MR. RAY: Object to the form.                              21     A. No. The operative word here is "market."
    22          THE WITNESS: As noted, the OMC did not                    22 So the mineral is only worth what you can sell it for.
    23 appear to follow it, so there probably was good reason             23 If you cannot sell that mineral, then it's worth zero.
    24 for that.                                                          24     Q. Well, the regulation reads, For substances
    25     Q. (BY MS. McCLANAHAN) Do you think it would                   25 other than, gold, silver, copper, lead, zinc, coal,
